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CADES SCHUTTE
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ATOOI ALOHA, LLC

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THE EDMON KELLER AND CLEAVETTE
MAE STANLEY FAMILY TRUST;

CRAIG B. STANLEY, Individually; and
MILLICENT ANDRADE, Individually
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IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF HAWAII

ATOOI ALOHA, LLC, an Nevada CIVIL NO, 16-00347 JMS RLP
Limited Liability Company; CRAIG B.
STANLEY, as Trustee for THE CERTIFICATE OF SERVICE

EDMON KELLER AND CLEAVETTE
MAE STANLEY FAMILY TRUST;
CRAIG B. STANLEY, individually; : . vs
MILLICENT ANDRADE, individually, | Notices of Taking Deposition Upon
Oral Examination and Videotaped

Plaintiffs, Deposition of:
(1) Abner Gaurino;

Vv. (2) Aurora Gaurino; and
(3) Abigail Gaurino]

[Re: Plaintiffs’ Second Amended

ABNER GAURINO; AURORA
GAURINO; ABIGAIL GAURINO;
INVESTORS FUNDING
CORPORATION, as Trustee for an
unrecorded Loan Participation
Agreement dated June 30, 2014; APT-
320, LLC, a Hawaii Limited Liability
Company; CRISTETA C. OWAN, an
individual; ROMMEL GUZMAN;
FIDELITY NATIONAL TITLE &
ESCROW OF HAWAII and DOES 1-
100 Inclusive.,

Defendants.

 

 

CERTIFICATE OF SERVICE
The undersigned hereby certifies that true and correct copies of: (1)
Plaintiffs’ Second Amended Notice of Taking Deposition Upon Oral Examination

and Videotaped Deposition of Abner Gaurino; (2) Plaintiffs’ Second Amended

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Notice of Taking Deposition Upon Oral Examination and Videotaped Deposition

of Aurora Gaurino; and (3) Plaintiffs’ Second Amended Notice of Taking

Deposition Upon Oral Examination and Videotaped Deposition of Abigail Gaurino

were duly served upon the following parties as indicated below on September 6,

2017:

By U.S. Mail

JOHN R. REMIS, JR., ESQ.
P.O. Box 38112

Honolulu, HI 96837

And

Hand Delivery

ROBERT D. EHELER, JR., ESQ.

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and ABIGAIL GAURINO

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' Case 1:16-cv-00347-JMS-RLP Document 130 Filed 09/06/17 Page 4of5 PagelD #: 870

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FIDELITY NATIONAL TITLE &
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By U.S. Mail

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Attorney for Defendant
CRISTETA C. OWAN
_ Case 1:16-cv-00347-JMS-RLP Document 130 Filed 09/06/17 Page5of5 PagelD #: 871

DATED: Honolulu, Hawai‘i, September 6, 2017.

CADES SCHUTTE
A Limited Liability Law Partnership

/s/ Dennis W. Chong Kee
DENNIS W. CHONG KEE
W. KEONI SHULTZ
CHRISTOPHER T. GOODIN

 

and

LAWRENCE C. ECOFF, Pro Hac Vice
ALBERTO J. CAMPAIN, Pro Hac Vice
GINNI G. KIM, Pro Hac Vice

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STANLEY, as Trustee for THE EDMON
KELLER AND CLEAVETTE MAE
STANLEY FAMILY TRUST; CRAIG B.
STANLEY, Individually; and MILLICENT
ANDRADE, Individually
